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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

    TYRONE STANTON,            )
                               )                      CIVIL ACTION NO.
       PLAINTIFF,              )                      1:16-CV-00351-WSD-LTW
                               )
    v.                         )
                               )
    CENTENE MANAGEMENT CO.,    )                      JURY TRIAL DEMANDED
    LLC, ROBERT HALF           )
    INTERNATIONAL, INC. D/B/A  )
    OFFICE TEAM, AND CHANTELLE )
    MITCHELL,                  )
                               )
       DEFENDANTS.

                         JOINT STIPULATION OF DISMISSAL

         The parties in this action, acting through their undersigned counsel of record,

   and pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure hereby

   stipulate to the dismissal of this action, with prejudice, with each party to bear its

   own costs and fees.

         Respectfully submitted and consented to this 25th day of January, 2017.

/s/ J. Stephen Mixon                            /s/Alex S. Drummond
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        Case 1:16-cv-00351-WSD Document 51 Filed 01/25/17 Page 3 of 4



               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
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 TYRONE STANTON,            )
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 v.                         )
                            )
 CENTENE MANAGEMENT CO.,    )                      JURY TRIAL DEMANDED
 LLC, ROBERT HALF           )
 INTERNATIONAL, INC. D/B/A  )
 OFFICE TEAM, AND CHANTELLE )
 MITCHELL,                  )
                            )
    DEFENDANTS.

             CERTIFICATE OF SERVICE AND COMPLIANCE

      I hereby certify that I have this date served a copy of the within and foregoing

document with the Clerk of Court using the CM/ECF system, which will

automatically send e-mail notification of such filing to all attorneys of record, and

that these documents were prepared using a Time New Roman 14 point font.

      Respectfully submitted this 25th day of January, 2017.

                                              /s/ J. Stephen Mixon
                                              J. Stephen Mixon
                                              Georgia Bar No. 514050

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